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                                    No. 2021-2348
                                               88




      United States Court of Appeals
                         for the Federal Circuit

  LKQ CORPORATION, KEYSTONE AUTOMOTIVE INDUSTRIES, INC.,
                                         Appellants,
                                              v.
             GM GLOBAL TECHNOLOGY OPERATIONS LLC,
                                        Appellee.

                  Appeal from the United States Patent and Trademark Office,
                     Patent Trial and Appeal Board in No. IPR2020-00534
             (JJ. Scott A. Daniels, Grace K. Obermann, and Christopher G. Paulraj)


BRIEF OF AMICUS CURIAE EAGLE EYES TRAFFIC INDUSTRIAL CO.,
              LTD, IN SUPPORT OF APPELLANTS


ALEXANDER CHEN
INHOUSE CO. LAW FIRM
7700 Irvine Center Dr., Suite 800
Irvine, California 92618
Telephone: (714) 932-6659
alexc@inhouseco.com


      Counsel for Amicus Curiae Eagle Eyes Traffic Industrial Co., Ltd.
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FORM 9. Certificate of Interest                                                                    Form 9 (p. 1)
                                                                                                      July 2020


                            UNITED STATES COURT OF APPEALS
                               FOR THE FEDERAL CIRCUIT

                                    CERTIFICATE OF INTEREST

          Case Number             2021-2348

 Short Case Caption               LKQ Corporation, et al. v. GM Global Technology Operations LLC

 Filing Party/Entity              Eagle Eyes Traffic Industrial Co. Ltd.




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additional pages as needed and check the relevant box. Counsel must
immediately file an amended Certificate of Interest if information changes. Fed.
Cir. R. 47.4(b).


I certify the following information and any attached sheets are accurate and complete to
the best of my knowledge.


Date:     08/28/2023                                Signature:         /s/ Alexander Chen

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                   Case: 21-2348               Document: 98        Page: 3        Filed: 08/26/2023



 FORM 9. Certificate of Interest                                                                          Form 9 (p. 2)
                                                                                                             July 2020


         1. Represented Entities.                  2. Real Party in                3. Parent Corporations and
      Fed. Cir. R. 47.4(a)(1).                          Interest.                    Stockholders. Fed. Cir. R.
                                                 Fed. Cir. R. 47.4(a)(2).            47.4(a)(3).
Provide the full names of all                  Provide the full names of all       Provide the full names of all
entities represented by                        real parties in interest for the    parent corporations for the
undersigned counsel in this                    entities. Do not list the real      entities and all publicly held
case.                                          parties if they are the same as     companies that own 10% or
                                               the entities.                       more stock in the entities.

                                               ☐� None/Not Applicable              ☐ None/Not Applicable


 Eagle Eyes Traffic Industrial                 None                                             None
          Co. Ltd.

4. Legal Representatives. List all law firms, partners, and associates that (a) appeared for the
entities in the originating court or agency or (b) are expected to appear in this court for the
entities. Do not include those who have already entered an appearance in this court. Fed. Cir. R.
47.4(a)(4).
            None/Not Applicable                                     Additional pages attached

             Alexander Chen


5. Related Cases. Provide the case titles and numbers of any case known to be pending in this
court or any other court or agency that will directly affect or be directly affected by this court’s
decision in the pending appeal. Do not include the originating case number(s) for this case. Fed.
Cir. R. 47.4(a)(5). See also Fed. Cir.
R. 47.5(b).
            None/Not Applicable                                     Additional pages attached
 LKQ Corp., et al. v. GM Global Technology
Operations LLC, Fed. Cir. Case No. 2022-1253




6. Organizational Victims and Bankruptcy Cases. Provide any information required under
Fed. R. App. P. 26.1(b) (organizational victims in criminal cases) and 26.1(c) (bankruptcy case
debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  �         None/Not Applicable                                     Additional pages attached
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I.       INTEREST OF AMICUS CURIAE 1

         Amicus curiae Eagle Eyes Traffic Industrial Co., Ltd (“Eagle Eyes”), is a

professional automotive lamp supplier that has been specializing in the development

and production of automotive lamps, including head, rear, corner, side, bumper, fog,

and center high mounted stop lamps, for over 40 years. Eagle Eyes submits this brief

in an effort to protect competition in the secondary market and repair of automobile

parts and to secure uniformity in the application of the obviousness standard, 35

U.SC. § 103 (“Section 103”), to utility and design patents alike.

         This case concerns whether or not the flexible obviousness test articulated by

recent U.S. Supreme Court precedent, KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398

(2007) (“KSR”) in a utility patent case should apply to design patents. Historically,

design patents have been subject to a rigid Rosen-Durling2 test, under which virtually

no design patents have ever been invalidated. Eagle Eyes is well suited to opine on

this issue given its lengthy history in the secondary auto part and repair markets. Eagle

Eyes further has a strong interest in the result of this case, because if design patents

are not analyzed pursuant to KSR, original equipment manufacturers such as appellee

will be permitted to file endless design patents and reduce or destroy the ability of

companies like Eagle Eyes to compete with OEMs, thus decimating competition and


1
  This brief is submitted under Federal Rule of Appellate Procedure 29(a). Consent of the parties is not required. Dkt. 86,
¶ 6. Undersigned counsel certify that this brief was not authored in whole or part by counsel for the parties; no party or
counsel contributed money for the brief; and no one other than amicus and counsel have contributed money for this brief.
2
  In re Rosen, 673 F.2d 388 (C.C.P.A. 1982) (“Rosen”); Durling v. Spectrum Furniture Co., Inc., 101 F.3d 100, 103 (Fed.
Cir. 1996) (“Durling”).
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resulting in higher prices and less options for customers.

I.    SUMMARY OF THE ARGUMENT

      The primary question addressed herein is whether the KSR test applies to design

patents as well as utility patents. Eagle Eyes submits that it must. Design and utility

patents are issued pursuant to the same law and subject to an identical prohibition on

ordinary inventions set forth in the Constitution and the Patent Act. U.S. Const., art. I,

§ 8, cl. 8; 35 U.S.C. §§ 103, 171(b). However, case law applies a different test to

determine obviousness when it comes to design patents, the Rosen-Durling test, which

is so rigid and inflexible that virtually no design patents have ever been invalidated

due to Section 103.

      In KSR, the U.S. Supreme Court rejecting the rigid “teaching-suggestion-

motivation” (“TSM”) test for utility patent obviousness, writing:

      “Throughout this Court’s engagement with the question of
      obviousness, our cases have set forth an expansive and flexible
      approach [to obviousness] . . . [W]hen a court transforms [a] general
      principle into a rigid rule that limits the obviousness inquiry, as the
      Court of Appeals did here, it errs.”

KSR Int’l Co. v. Teleflex Inc., supra, 550 U.S. at 415-9.

      The Rosen-Durling test’s rigidity is irreconcilable with the flexible approach to

obviousness that KSR mandates. It imposes rigid rules that so limit the obviousness

inquiry for design patents that invalidation on that ground is virtually impossible. In

order to even begin the obviousness analysis, Rosen requires the challenger to provide

a single reference to prior art that has design characteristics that are “basically the
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same” as the claimed design. Durling, 101 F.3d at 103 (quoting Rosen, 673 F.2d at

391). Even if the challenger is able to find such a reference, Durling precludes

consideration of secondary references unless they are “so related to the primary

reference that the appearance of certain ornamental features in one would suggest the

application of those features to the other.” Durling, 101 F.3d at 103.

          These rigid rules permit the issuance and enforcement of patents based on

obvious designs, and Rosen-Durling is even more stringent than the TSM test rejected

by KSR, which precluded courts from finding a utility patent obvious over a

combination of prior art references unless there was a specific teaching, suggestion, or

motivation in the prior art for the prior art references to be combined. 3 The Supreme

Court in KSR expressly found that such rigid rules were inconsistent with Supreme

Court precedent and the Patent Act. While not expressly stated, KSR implicitly

abrogated Rosen and Durling, because to interpret identical law as permitting rigid

rules with respect to one type of patent and forbidding such rigidity with respect to

another is illogical and has no basis in law.

          The Rosen-Durling framework is inconsistent with the Constitution, Supreme

Court precedent, and the Patent Act, and it should be abrogated. The appropriate test

for design patent obviousness is the expansive and flexible approach prescribed by

Graham and refined by KSR, applied in the manner that it was intended: that is, to



3
    KSR, 550 U.S. at 418 (citing Application of Bergel, 292 F.2d 955, 956–57 (C.C.P.A. 1961)).
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determine whether, in light of the facts and evidence, a person having ordinary skill in

the art would have found the claimed design obvious. Otherwise, as evidenced by this

case, design patents on obvious subject matter will persist, effectively wiping out

competition against OEMs from the secondary market for automobile parts and

raising prices for consumers. Eagle Eyes estimates that the proliferation of these

obvious patents is causing consumer prices to rise up to 30%.

II.   QUESTIONS PRESENTED

      The Order granting appellant’s petition for rehearing en banc specifies the

following questions for review:

      A.       Does KSR International Co. v. Teleflex Inc., 550 U.S. 398 (2007),

overrule or abrogate In re Rosen, 673 F.2d 388 (C.C.P.A. 1982), and Durling v.

Spectrum Furniture Co., Inc., 101 F.3d 100 (Fed. Cir. 1996)?

      B.       Assuming that KSR neither overrules nor abrogates Rosen and Durling,

does KSR nonetheless apply to design patents and suggest the court should eliminate or

modify the Rosen-Durling test? In particular, please address whether KSR’s statements

faulting “a rigid rule that limits the obviousness inquiry,” 550 U.S. at 419, and adopting

“an expansive and flexible approach,” id. at 415, should cause us to eliminate or modify:

(a) Durling’s requirement that “[b]efore one can begin to combine prior art designs . . .

one must find a single reference, ‘a something in existence, the design characteristics

of which are basically the same as the claimed design,’” 101 F.3d at 103 (quoting Rosen,

673 F.2d at 391); and/or (b) Durling’s requirement that secondary references “may only
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be used to modify the primary reference if they are ‘so related to the primary reference

that the appearance of certain ornamental features in one would suggest the application

of those features to the other,’” id. at 103 (quoting In re Borden, 90 F.3d 1570, 1575

(Fed. Cir. 1996)) (internal alterations omitted).

       C.      If the court were to eliminate or modify the Rosen-Durling test, what

should the test be for evaluating design patent obviousness challenges?

       D.      Has any precedent from this court already taken steps to clarify the

Rosen-Durling test? If so, please identify whether those cases resolve any relevant

issues.

       E.      Given the length of time in which the Rosen-Durling test has been

applied, would eliminating or modifying the design patent obviousness test cause

uncertainty in an otherwise settled area of law?

       F.      To the extent not addressed in the responses to the questions above, what

differences, if any, between design patents and utility patents are relevant to the

obviousness inquiry, and what role should these differences play in the test for

obviousness of design patents?

III.   ARGUMENT

       A.    KSR IMPLICITLY ABROGATED ROSEN AND DURLING.

       KSR involved a utility patent, and thus did not expressly address the Rosen-

Durling test. However, because both utility and design patents are subject to the same

prohibition against obviousness found in Section 103, the logic underpinning KSR
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necessarily applies in the design patent context. The rigid limits imposed by Rosen-

Durling in the design patent context are irreconcilable with KSR’s mandate against

rigid obviousness analysis.

             1. There is no Dispute that Obviousness of Utility and Design
                Patents are Subject to the Same Law

      The Constitution and the Patent Act forbid patents on obvious subject matter for

both utility and design patents. See Graham v. John Deere Co. of Kansas City, 383

U.S. 1, 6 (1966); U.S. Const., art. I, § 8, cl. 8; 35 U.S.C. § 103; 35 U.S.C. §171(b)

(“The provisions of this title relating to patents for inventions shall apply to patents

for designs….”). Section 103 forbids granting of a patent if “the differences between

the claimed invention and the prior art are such that the claimed invention as a whole

would have been obvious before the effective filing date of the claimed invention to a

person having ordinary skill in the art to which the claimed invention pertains.” 35

U.S.C. § 103.

      This Court, as well as the Supreme Court itself, have expressly recognized that

judicial interpretations of Section 103 concerning obviousness are equally applicable

to design and utility patents. In re Nalbandian, 661 F.2d 1214, 1217 (CCPA 1981)

(“in view of the statutory requirement that patents for designs must be evaluated on

the same basis as other patents, the test of Graham must be followed”); Smith v.

Whitman Saddle Co., 148 U.S. 674, 679 (1893) (quoting Northrup v. Adams, 12 O.G.

430 (E.D. Mich. 1877); citing Foster v. Crossin, 44 F. 62 (D.R.I. 1890) (“the law

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applicable to design patents ‘does not materially differ from that in cases of

mechanical patents, and ‘all the regulations and provisions which apply to the

obtaining or protection of patents for inventions or discoveries … shall apply to

patents for designs”).

             2. The Supreme Court in KSR Explicitly Rejected the Application of
                Rigid Rules Limiting the Analysis of Obviousness

      The KSR opinion rejected all rigid rules that limit the finder of fact’s inquiry

into obviousness, beginning its analysis by stating “[t]hroughout this Court’s

engagement with the question of obviousness, our cases have set forth an expansive

and flexible approach inconsistent with the way the Court of Appeals applied its TSM

test here.” KSR, 550 U.S. at 415.

      The Supreme Court has clearly stated that it can abrogate or overrule prior

decisions, including those by the Supreme Court itself, by implication instead of

requiring an explicit statement every time. See, e.g., Hudgens v. N.L.R.B., 424 U.S.

507, 518 (1976); Ideker Farms, Inc. v. United States, 71 F.4th 964, 988 n.11 (Fed. Cir.

2023) (“Precedent is not ironclad until the Supreme Court explicitly says otherwise”);

Troy v. Samson Mfg. Corp., 758 F.3d 1322, 1326 (Fed. Cir. 2014).

      While KSR did not expressly mention Rosen or Durling, that does not mean that

these cases are still good law. Indeed, KSR was not limited to the TSM test, making

clear that it was abrogating what the Supreme Court believed to be “fundamental

misunderstandings identified above led the Court of Appeals in this case to apply a

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test inconsistent with our patent law decisions.” KSR, 550 U.S. at 422. The Supreme

Court in KSR rejected rigid tests such as TSM, stating:

      “[A]s progress beginning from higher levels of achievement is
      expected in the normal course, the results of ordinary innovation are
      not the subject of exclusive rights under the patent laws. Were it
      otherwise patents might stifle, rather than promote, the progress of
      useful arts. See U.S. Const., Art. I, § 8, cl. 8. These premises led to
      the bar on patents claiming obvious subject matter established in
      Hotchkiss and codified in § 103. Application of the bar must not be
      confined within a test or formulation too constrained to serve its
      purpose.”

KSR, 550 U.S. 427 (emphasis added). The Supreme Court went on to state that the

Court of Appeals had “analyzed the issue in a narrow, rigid manner inconsistent with

§ 103 and our precedents.” Id. at 428.

      KSR rejected an approach based upon inflexible standards, which in turn

abrogated all cases insofar as they practiced that approach. Decisions such as KSR

may be controlling if they “undercut the theory or reasoning underlying precedent in

such a way that cases are clearly irreconcilable.” Troy v. Samson Mfg. Corp., 758 F.3d

1322, 1326 (Fed. Cir. 2014). “[L]ower courts are bound not only by the holdings of

higher courts’ decisions but also by their mode of analysis.” Id. at 1326 (citing

Antonin Scalia, The Rule of Law as the Law of Rules, 56 U. CHI. L. REV. 1175, 1177

(1989)) (cleaned up).

             3. The Rigid Limitations Imposed by Rosen-Durling are
                Irreconcilable with KSR and Must be Deemed Abrogated Thereby

      KSR prescribed a clear approach to obviousness: eschew rigid rules, evaluate

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the Graham factors, and flexibly inquire into those considerations that bear upon the

determination of whether a person having ordinary skill in the art would have found

the claimed invention obvious. KSR, 550 U.S. at 415-16. The Rosen-Durling test is

not only irreconcilable with KSR, but the antithesis of KSR’s mandate. Indeed, Rosen-

Durling is even more rigid than the TSM rule. Given that the Supreme Court has

repeatedly held that the same law and principles apply to both design and utility

patents, KSR’s abrogation of rigid tests necessarily includes that of Rosen-Durling.

      B.     THE ROSEN-DURLING TEST SHOULD BE ELIMINATED

      Should this Court determine that KSR does not abrogate or overrule Rosen-

Durling, it should find that KSR applies to design patents and the Rosen-Durling test

should be abrogated or modified to be consistent with KSR.

             1. Each Step of Rosen-Durling is Impermissibly Rigid and Limiting

      The Rosen-Durling test imposes rigid limitations on the obviousness inquiry at

every step, which are even stricter than the TSM test analyzed in KSR. First, Rosen

requires that prior to beginning any obviousness analysis, the challenger must supply a

primary reference that is “basically the same” as the claimed design. Durling, 101

F.3d at 103. Without this Rosen reference, the court cannot even consider the level of

skill in the art, the teachings of other prior art references, or objective indicia of

obviousness or nonobviousness, much less the factors articulated by KSR that the

Court stated should be considered when analyzing the broader question of whether or

not the claimed design would have been obvious to an ordinary designer. There is no
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basis for the Rosen reference in law and the requirement is incompatible with the

evidence-based analysis required by the Supreme Court in KSR. See KSR, 550 U.S. at

417-8 (explaining the principles underlying prior Supreme Court obviousness

decisions and linking all of them to what would have been within the knowledge,

skill, or creativity of a person having ordinary skill in the art).

      The Rosen reference requirement was intended to prevent hindsight bias which,

while helpful insight, cannot justify the rigid rule into which it evolved. See Rosen,

673 F.2d at 291 (emphasizing the need to consider whether the availability of all of

the elements of a design in the prior art would have made their combination obvious

to a designer, and requiring comparison with “something in existence”). The Supreme

Court held that to do so is error. KSR, 550 U.S. at 419. Further, Rosen’s requirement

of a single reference is far more rigid than the test rejected in KSR. The TSM test

applied to cases where two or more references had to be combined; Rosen prohibits

even looking beyond the primary reference unless it is basically the same as the

patented design. The Supreme Court’s holding that the TSM test was too rigid

because it did not permit a thorough analysis of what a person with ordinary skill in

the art would have found obvious must apply to Rosen, which permits zero such

analysis in the absence of a near-identical primary reference.

      Even if the challenger is able to supply a near-identical primary reference,

Durling next requires that the primary reference only be modified based on the

teachings of prior art that is “so related to the primary reference that the appearance of
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certain ornamental features in one would suggest the application of those features to

the other.” Durling, 101 F.3d at 103. As with the Rosen primary reference

requirement, Durling’s “so related” requirement is a more rigid application of the

TSM test and accordingly conflicts directly with KSR. Durling limits potential

secondary references to only those bearing similar visual appearances to the primary

reference, which ignores the reality that obvious design changes are not limited to

prior art that meets the “so related” requirement. See Mark Bartholomew, Nonobvious

Design, 108 IOWA L. REV. 601, 645-46 (2023) (noting several references a designer

may have taken into account when designing a new beverage pouch). In the

underlying case, appellant submitted evidence that automobile designers do not just

look to visually similar designs when doing routine design modifications; they draw

from a wide variety of sources that may, especially to a lay person, look different or

seem unrelated in appearance (see, e.g., Appx 0372-3) and need not rely upon specific

sources to modify routine designs (see Appx1302, Appx1332-1336). Durling thus

compounds the removal of the ordinary designer from Rosen’s analysis in direct

contradiction to the Constitutional and Patent Act requirement that the ordinary

designer’s point of view be taken into consideration.

             2. Rosen-Durling Encourages Monopolization by OEMs by
                Permitting the Patentability of Obvious Designs

                      a.     Rosen-Durling Directly Contradicts § 103 and
                             Subsumes it into § 102

      KSR addressed Section 103’s ordinary designer standard as follows: “[a] person
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of ordinary skill in the art is also a person of ordinary creativity, not an automaton.”

Id. at 421 (emphasis added). By essentially prohibiting any evidence of what would

have been obvious to an ordinary designer from obviousness analysis, Rosen and

Durling improperly reduce the ordinary designer to a mere automaton, permitting

patents over subject matter that would have been obvious to an ordinary designer.

Since Rosen only permits the primary reference to differ in minimal ways from the

claimed design, Rosen removes all meaningful consideration of the ordinary observer.

Durling’s “so related” requirement goes even further by essentially limiting an

ordinary designer’s ability to copying features from similar designs.

      Further, Rosen’s “basically the same” primary reference requirement

inexplicably subsumes the prohibition against obviousness into another patent

prohibition – anticipation (35 USC § 102). A design is invalid for anticipation if it is

substantially the same as a single prior art design, which is substantively identical to

Rosen’s “basically the same” primary reference requirement. See High Point Design

LLC v. Buyer’s Direct, Inc., 621 F. App’x 632, 636 (Fed. Cir. 2015). To permit the

test for obviousness to be the same as that for anticipation renders the Legislature’s act

of making two separate sections meaningless.

                      b.     Rosen-Durling Interferes with the Court and USPTO’s
                             Ability to Prohibit Obvious Designs

      Despite the mandate in both the Constitution and Section 103 of the Patent Act,

the practical effect of the Rosen-Durling analysis has been to allow obvious patents to

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be granted and enforced as the USPTO and taken away any discretion the Courts have

to find them obvious. See 35 U.S.C. § 103; KSR, 550 U.S. at 415-16. Studies have

found that unlike utility patents, design patent applications are almost never rejected

on prior art grounds (1.2% per Dennis Crouch, A Trademark Justification for Design

Patent Rights, 24 HARV. J. L. TECH. at 19 (2010); 2.1% per Dunstan H. Barnes,

Design Patent Rejections—Update, BIGPATENTDATA (Apr. 14, 2019)

(www.bigpatentdata.com/2019/04/design-patent-rejections-update), and that 90% of

design patent applications are granted. Crouch at 18.

      Given that the obviousness prohibition applies equally to design and utility

patents, the only logical reason for this discrepancy is that the rigidity of the Rosen-

Durling test has virtually eliminated invalidity based on obviousness. The “USPTO’s

sub silento [sic] abdication of its gatekeeper function in the realm of design patents,”

Crouch at 19, is a reflection of the fact that the current law “makes it nearly

impossible for the USPTO to reject most design patent claims—no matter how banal,

trivial, or uncreative.” Burstein, 33 BERK. TECH. L. J. at 624.

      After issuance, it is even harder to have a design patent invalidated due to

obviousness. Design patent challenges only rarely meet the Rosen primary reference

requirement and when they do, the Rosen reference is nearly identical to the claimed

design. See Burstein, 33 BERK. TECH. L. J. at 616 (“In recent years, however, it has

become rare for courts to even reach step two because the Federal Circuit has required

such a high degree of similarity at step one.”).
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      In U.S. District Courts, between 2008 and 2020, design patents were invalidated

only 11.6% of the time; at the International Trade Commission, between 2011-2020,

design patents were invalidated only 5% of the time; and in the Patent Trial and

Appeal Board, since 2013, design patents are invalidated only 21% of the time. Sarah

Burstein & Saurabh Vishnubhakat, The Truth About Design Patents, 71 AM. U. L.

REV. 1221, 1271-1276 (2022). In contrast, from 2003 to 2013 utility patent

obviousness determinations in U.S. District Courts increased from 27% to 46% and

nonobviousness determinations decreased from 69% to 48%. Ryan T. Holte & Ted

Sichelman, Cycles of Obviousness, 105 IOWA L. REV. 107, 141 (2019). Further, of the

17,440 claims on which the PTAB issued an institution decision in FY22, it instituted

IPR or PGR as to 10,045 (58%), and of the 7,024 claims on which the PTAB issued a

determination of patentability in AIA proceedings in FY22, it found 5,371 (76%) of

those claims unpatentable. PTAB Trial Statistics, FY22 End of Year Outcome Roundup

IPR, PGR, at 14 (https://www.uspto.gov/sites/default/files/documents/ptab

__aia_fy2022_roundup.pdf).

      Permitting the Rosen-Durling test to remain obviates Section 103 as it applies

to design patents. As such, it must be replaced by a test in line with the Constitution

and the Patent Act, such as the one stated in KSR.

      C.     THE TEST FOR OBVIOUSNESS AS APPLIED TO DESIGN PATENTS SHOULD
             MIRROR KSR BY RETURNING TO CONSIDERATION OF THE ORDINARY
             DESIGNER

      Once the Rosen-Durling test has been abrogated, the test for obviousness as
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applied to design patents should return to the principles in the Constitution and the

Patent Act, articulated in Graham:

      “Under § 103, the scope and content of the prior art are to be
      determined; differences between the prior art and the claims at issue
      are to be ascertained; and the level of ordinary skill in the pertinent art
      resolved. Against this background, the obviousness or nonobviousness
      of the subject matter is determined. Such secondary considerations as
      commercial success, long felt but unsolved needs, failure of others,
      etc., might be utilized to give light to the circumstances surrounding
      the origin of the subject matter sought to be patented.”

KSR, 550 U.S. at 406 (quoting Graham, 383 U.S. at 17-18).

      Applying Graham and KSR to design patents would provide a uniform and

Supreme-Court endorsed flexible method of determining obviousness or lack thereof.

This Court and other Circuit Courts prior to the creation of the Federal Circuit have

applied Graham in design patent contexts before, most notably in Nalbandrian, 661

F.2d at 1216-7. As this Court stated, “we do not believe the determination of the level

of ordinary skill in the art, as required under [Graham], cannot be made with respect to

designs. Thus, in view of the statutory requirement that patents for designs must be

evaluated on the same basis as other patents, the test of Graham must be followed.”

Nalbandrian at 1217.

      Graham and KSR require consideration of things that are equally relevant in

design and utility patent cases: the scope and content of prior art, evaluation of the new

matter and whether or not it is novel, and the level of skill in the art for the applicable

ordinary designer. Graham and KSR set out a standard that requires contextual inquiry,

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not an unbending rule. That inquiry calls for case-by-case development and the

collection of evidence about what an ordinary designer in a given case would have

known, their capabilities, and what the relevant prior art would have disclosed to them

or taught them. That it may not always be easy to conduct this case-specific analysis is

not a basis to apply a different test; what matters is uniformity and definiteness as set

forth in the Patent Act. See Graham, 383 U.S. at 18. Courts should look beyond prior

art references to the actual design process, as there are a variety of reasons designers

might choose to incorporate something into a new design or find another to be obvious.

See KSR, 550 U.S. at 418:

      “Often, it will be necessary for a court to look to interrelated teachings
      of multiple patents; the effects of demands known to the design
      community or present in the marketplace; and the background
      knowledge possessed by a person having ordinary skill in the art, all
      in order to determine whether there was an apparent reason to
      combine the known elements in the fashion claimed by the patent at
      issue.”

      The Courts have access to expert testimony, design demands, and market

pressures in applying the Graham/KSR factors.

      D.     NO PRECEDENT FROM THIS COURT HAS CLARIFIED THE ROSEN-
             DURLING TEST AFTER KSR

      In short, this Court has not often relied upon Rosen-Durling in sustaining design

patents, and in the few cases in which the Federal Circuit has referenced Rosen-

Durling, the validity of the test itself was not challenged.

      Only once, in Titan Tire, has the Court considered whether KSR applied to

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design patents. Ultimately, the Court held that it was unnecessary to resolve the issue

because the patent-in-suit was obvious even under Rosen-Durling as the primary

reference was nearly identical to the claimed design. Titan Tire, 566 F.3d at 1385. But

the Court noted that KSR may apply to design patents. Ibid.

      Otherwise, excepting this appeal and its companion case and not counting any

summarily affirmed cases, this Court has issued opinions in design patent

obviousness cases only fourteen times since the Supreme Court’s KSR decision in

2007.4 Only ten of those cases turned on application of the Rosen-Durling framework. 5

In six of those cases, obviousness was found even under the Rosen-Durling framework


4
  Titan Tire, 566 F.3d 1372 (Fed. Cir. 2009); Int’l Seaway Trading Corp. v. Walgreens
Corp., 589 F.3d 1233, 1240 (Fed. Cir. 2009); Apple, Inc. v. Samsung Elecs. Co., 678
F.3d 1314, 1330 (Fed. Cir. 2012); In re Owens, 710 F.3d 1362, 1369 (Fed. Cir. 2013);
High Point Design LLC v. Buyers Direct, Inc., 730 F.3d 1301, 1313 (Fed. Cir. 2013);
MRC Innovations, 747 F.3d at 1331-38; 3form, Inc. v. Lumicor, Inc., 678 F. App’x
1002, 1010 (Fed. Cir. 2017); Kolcraft Enterprises, Inc. v. Graco Children’s Prod., Inc.,
927 F.3d 1320, 1326 (Fed. Cir. 2019); Campbell Soup Co. v. Gamon Plus, Inc., 939
F.3d 1335, 1339-42 (Fed. Cir. 2019) (“Campbell Soup I”); Spigen Korea Co. v.
Ultraproof, Inc., 955 F.3d 1379, 1383 (Fed. Cir. 2020); Sealy Tech., LLC v. SSB Mfg.
Co., 825 F. App’x 795, 799-800 (Fed. Cir. 2020) (“Sealy I”); Sealy Tech., LLC v. SSB
Mfg. Co. 825 F. App’x 801, 805-06 (Fed. Cir. 2020) (“Sealy II”); Campbell Soup Co.
v. Gamon Plus, Inc., 10 F.4th 1268, 1276 (Fed. Cir. 2021) (“Campbell Soup II”), cert.
denied, 142 S. Ct. 1129 (2022); Golden Eye Media USA, Inc. v. Evo Lifestyle Prod.
Ltd., No. 2021-2096, 2022 WL 2232517, at *3 (Fed. Cir. June 22, 2022).
5
  In Int’l Seaway, the Court did not rule substantively on obviousness because the
district court had not made its summary judgment decision based on obviousness. 589
F.3d at 1240. In Owens, the priority of the patent application was at issue. 710 F.3d at
1369. In, Kolcraft, the conception date and priority of the design patents were at issue
and the PTAB’s substantive obviousness analysis was expressly not disputed. 927 F.3d
at 1326. Campbell Soup II concerned secondary indicia of nonobviousness; not the
PTAB’s application of the Rosen-Durling framework, which had already been
addressed in Campbell Soup I. 10 F.4th at 1276.
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because they were the rare cases where the primary references only varied in trivial

ways from the patented design.6 In only three cases has the Court found

nonobviousness based upon the requirements of Rosen-Durling, each of which

reversed district court decisions finding obviousness under the Rosen-Durling test. See,

Apple, 678 F.3d at 1322; High Point, 730 F.3d at 1304; titaen, 955 F.3d at 1382. The

patent challengers in those cases understandably did not argue the standard under

which they had already prevailed. As a result, this Court was not faced with the

question of whether the Rosen-Durling standard survived KSR.

      Therefore, a precedential opinion from this Court concerning the effect of KSR

on the continued applicability of Rosen-Durling is sorely needed.

      E.    APPLYING KSR TO DESIGN PATENTS DECREASES, NOT INCREASES,
            UNCERTAINTY AS ROSEN-DURLING CANNOT BE CONSIDERED
            “SETTLED”

      The Rosen-Durling test is already so arbitrary and confusing that applying KSR

instead would actually reduce uncertainty and increase accuracy.

            1. Rosen’s “Basically the Same” Primary Reference is Applied
               Arbitrarily

      Courts have struggled to consistently determine how similar a reference must be




6
 MRC, 747 F.3d at 1331-38 (nearly identical dog jerseys); 3form, 678 F. App’x at
1010 (nearly identical reed patterns); Campbell Soup I, 939 F.3d at 1339-42 (nearly
identical soup can display); Sealy I, 825 F. App’x at 799-800 (nearly identical
mattresses); Sealy II, 825 F. App’x at 805-06 (same); Golden Eye, 2022 WL 2232517,
at *3 (nearly identical grocery bags).
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to be considered “basically the same” such that it qualifies as an acceptable proper

primary reference. Sarah Burstein, Is Design Patent Examination Too Lax?, 33

Berkeley Tech L.J. 607, 617 n.44 (2018). For example, this Court’s predecessor in

Carter found the primary reference and claimed infant garment design “nearly

identical” even though the primary reference had a differently shaped flap, a

differently cinched waistband, and different end portions to the waistband. In re

Carter, 673 F.2d 1378, 1380 (C.C.P.A. 1982). Yet, in Apple v. Samsung, this Court

held that the primary reference was not “basically the same” as the claimed design

because the prior art had “noticeable differences”, specifically perforations on the

frame corner, wider bottom edges of the tablet, and contrasts between the frame

surrounding the screen and the screen itself. 678 F.3d at 1331. There is no objective

reason that these differences were found to be de minimis in one case yet material in

another. Eagle Eyes refers to and incorporates herein by reference the tables included

in appellant’s opening brief at pages 49-50. Given that the Rosen primary reference

requires courts to determine “almost instinctively” whether or not the designs are

basically the same, these arbitrary results can hardly come as a surprise.

             2. Durling’s Verbal Claim Construction Requirement is Confusing
                and Applied Inconsistently

      Durling’s requirement that a patent challenger “discern the correct overall

visual impression created by the patented design,” Durling, 101 F.3d at 103, further

demonstrates current law has not been settled. Durling reversed a district court

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determination of obviousness for failure to “evoke a visual image consonant with the

claimed design” and “focusing on the design concept” of the claimed design. 101 F.3d

at 104. However, in Egyptian Goddess, this Court acknowledged the Supreme Court’s

recognition that “a design is better represented by an illustration than it could be by

any description and a description would probably not be intelligible without the

illustration.” 543 F.3d 665, 679 (Fed. Cir. 2008) (quoting Dobson v. Dornan, 118 U.S.

10, 14 (1886)) (cleaned up). Thus, this Court discouraged detailed verbal descriptions

of claimed designs and cautioned against “the risks entailed in such a description, such

as the risk of placing undue emphasis on particular features of the design.” Id. at 679-

680. Nevertheless, in High Point, decided two years after Egyptian Goddess, this

Court continued to interpret Durling to demand a detailed verbal claim construction.

730 F.3d at 1314. Then, this Court reversed course in MRC Innovations, holding that

no detailed verbal description was needed. Id. at 1332.

             3. Durling’s “So Related” Secondary Reference is Uncertain

      Durling’s requirement that secondary references be “so related” causes further

confusion and results in inconsistent rulings. In Borden, the court held that similarities

in product type and configuration supported combining its primary and secondary

prior art references and supplying the “two specific design elements that would

convert the [primary] reference into [the] claimed design.” 90 F.3d at 1575-76.

However, in MRC Innovations, this Court suggested that it was “mere similarity in

appearance that itself provides the suggestion that one should apply certain features to
                                            24
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another design.” 747 F.3d at 1334. Since so few design patents are invalidated under

Rosen-Durling, there has been little opportunity for courts to clarify this portion of the

test.

              4. The Final Obviousness Determination under Rosen-During is No
                 Clearer

        In Durling, the court stated that after a primary reference is found, “other

references may be used to modify it to create a design that has the same overall visual

appearance as the claimed design.” 101 F.3d at 103. This is contradicted by this

Court’s subsequent opinions.

        The International Seaway court unambiguously stated that the final

determination of obviousness required comparison of the modified prior art reference

with the claimed design via the ordinary observer test. 589 F.3d at 1240. Then, four

years later, in High Point, when the district court applied the ordinary observer test as

in International Seaway, this Court reversed for failing to apply the correct standard.

730 F.3d at 1313.

        MRC Innovations then held that a claimed design was obvious even though at

least one feature was not disclosed by any prior art reference. 747 F.3d at 1335, citing

Nalbandian, 661 F.2d at 1217, a pre-Rosen case decided entirely under Graham, and

In re Cooper, 480 F.2d 900, 901-02 (C.C.P.A. 1973), a pre-Nalbandian case decided

under the C.C.P.A.’s prior “ordinary intelligent man” test. The MRC Innovations court

found that “adding ornamental surge stitching on top of a preexisting seam was an

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insubstantial change that would have been obvious to a skilled designer.” Ibid.

However, MRC did not specify whether it was the insubstantial nature of the change

or that the change was obvious to a skilled designer that made the claimed design

obvious despite the novelty of the changed feature.

      F.     THE DIFFERENCES BETWEEN DESIGN AND UTILITY PATENTS DO NOT
             MERIT DIFFERENT TESTS FOR DETERMINING OBVIOUSNESS UNDER
             § 103

      Design and utility patents do differ, but not in a way that merits applying

different tests to determine the applicability of the same statute. While design patents

cover ornamental designs, described in images, and utility patents cover inventions,

described in words, they are still governed by the same law. Design patents are subject

to the same constitutional and statutory prohibitions on obtaining patents on obvious

subject matter as utility patents, and the fundamental principle that rigid rules cannot

be used to undermine those prohibitions still applies. Nearly every Circuit has rejected

the notion that the approach set forth in Graham cannot apply to design patents. See,

e.g., G.B. Lewis Co. v. Gould Prods., Inc., 436 F.2d 1176, 1178-79 (2d Cir. 1971)

(applying the Graham factors to analyze design patent obviousness); Hadco Prods.,

462 F.2d at 1269 (same); Fields v. Schuyler, 472 F.2d 1304, 1305-06 (D.C. Cir. 1972)

(same); Schnadig Corp. v. Gaines Mfg. Co., Inc., 494 F.2d 383, 389-90 (6th Cir.

1974) (same); Sidewinder Marine, Inc. v. Starbuck Kustom Boats & Prods., Inc., 597

F.2d 201, 209-11 (10th Cir. 1979) (same). Even the C.C.P.A., just a year before

developing its Rosen requirement, aligned itself with the majority of Circuits by
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discontinuing its prior ordinary intelligent man test and applying Graham.

Nalbandian, 661 F.2d at 1216-18.

      That application of a flexible approach is necessary to ensure that obvious

design patents are not obtained is reinforced by the additional remedy available to

design patents. Unlike utility patents, a finding of design patent infringement awards

the patent owner the infringer’s total profits. 35 U.S.C. § 289. In the wake of the

astonishing damages award in Apple v. Samsung, the combination of low procurement

costs, virtually nonexistent examination by the USPTO, and massive potential

rewards, the results have been predictable: an exponential surge in the number of

design patents being obtained in certain industries, including GM, over the last

century. See table in AOB, p. 60.

      Companies such as GM have taken advantage of the scattered application of the

overly-rigid Rosen-Durling test to monopolize the secondary market for parts and

repair, which is the opposite of the Constitution’s stated purpose for patent protection:

encouraging invention. This trend has increased costs to consumers, reduced

competition, and provided monopolizers like GM with record profits at the expense of

society itself. See Sarah Burstein, Costly Designs, 77 OHIO ST. L. J. at 117-124, 128-

29, 137-141 (arguing that while design patents on replacement parts such as vehicle

fenders are allowed because of prevailing validity laws and desirable because of low

cost and total profit damage potential, they have “low or negative social value”

because they involve “little or no visual invention” and that they “merely provide[] a
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windfall to the car’s manufacturer”); Christopher Buccafusco, Mark A. Lemley, &

Jonathan S. Masur, Intelligent Design, 68 DUKE LAW JOURNAL 75, 114-18 (2018)

(noting that the design patent validity makes them a lucrative form of property in

exchange for little social value).

      Despite the generous granting of design patents by the USPTO to companies

like GM, it is simply false that every single part made by GM warrants patent

protection. As stated in KSR, “the results of ordinary innovation are not the subject of

exclusive rights under the patent laws. Were it otherwise patents might stifle, rather

than promote, the progress of useful arts.” 550 U.S. at 427 (citing U.S. Const. art. I,

§ 8, cl. 8). The rigidity of the Rosen-Durling test and the virtual impossibility of

having a design patent invalidated as obvious following therefrom has made it so that

no one can fully enforce Section 103. KSR cautioned that “[a]pplication of the bar [on

patents claiming obvious subject matter] must not be confined within a test or

formulation too constrained to serve its purpose.” Ibid.

      Eagle Eyes estimates that the proliferation of these obvious patents is causing

consumer prices to rise up to 30%. If OEMs such as GM sell a patented headlight at

$100, end users would be able to purchase licensed non-OEM aftermarket headlights

at $80. Whereas, if there are no patents at play, the price for the customer would be

between $55 and $60. As such, customers experience a substantial price increase from

what results from natural competition.

      In order to fulfill the aims of the Constitution and Section 103, the Rosen-
                                            28
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Durling test must be abrogated.

//

IV.   CONCLUSION

      Eagle Eyes respectfully requests that this Court overrule Rosen and Durling and

find that a flexible test based on KSR permitting evidence of how the designer of

ordinary skill in the art would actually approach an invention is the proper approach to

obviousness.

Dated: August 28, 2023                        Respectfully submitted,

                                              By: /s/ Alexander Chen
                                              ALEXANDER CHEN
                                              INHOUSE CO. LAW FIRM
                                              7700 Irvine Center Dr., Suite 800
                                              Irvine, California 92618
                                              Telephone: (714) 932-6659
                                              alexc@inhouseco.com

                                              Counsel for Amicus Curiae Eagle Eyes
                                              Traffic Industrial Co., Ltd.




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 FORM 19. Certificate of Compliance with Type-Volume Limitations                                   Form 19
                                                                                                  July 2020

                         UNITED STATES COURT OF APPEALS
                            FOR THE FEDERAL CIRCUIT
   CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2021-2348

 Short Case Caption: LKQ Corporation, et al. v. GM Global Technology Operations LLC




The foregoing filing complies with the relevant type-volume limitation of the Federal Rules
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                                                         Name:           Alexander Chen
